       Case 3:18-cv-00152-CRB Document 15-1 Filed 01/31/18 Page 1 of 4



 1    Holly M. Simpkins (pro hac vice)
      HSimpkins@perkinscoie.com
 2    PERKINS COIE LLP
      1201 Third Avenue, Suite 4900
 3    Seattle, WA 98101
      Telephone: 206.359.8000
 4    Facsimile: 206.359.9000
 5    Andrew N. Klein, Bar No. 300221
      AKlein@perkinscoie.com
 6    PERKINS COIE LLP
      3150 Porter Drive
 7    Palo Alto, CA 95130
      Telephone: 650.838.4300
 8    Facsimile: 650.838.4350
 9    Attorneys for Plaintiffs
      EPIC GAMES, INC. and EPIC GAMES
10    INTERNATIONAL S.À.R.L.
11                               UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

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14   EPIC GAMES, INC., a Maryland              Case No. 18-cv-00152-CRB
     corporation; and EPIC GAMES
15   INTERNATIONAL S.À.R.L., a                 [PROPOSED] FINAL JUDGMENT AND
     Luxembourg Société à Responsibilité       PERMANENT INJUNCTION
16   Limitée,

17                        Plaintiffs,

18   v.

19   YASH GOSAI, an individual,

20                        Defendant.

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                                                               [PROPOSED] FINAL JUDGMENT AND
                                             -1-               PERMANENT INJUNCTION Case No.
     131695355                                                 3:18-cv-00152-CRB
       Case 3:18-cv-00152-CRB Document 15-1 Filed 01/31/18 Page 2 of 4



 1   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
 2           1.        This is an action for copyright infringement, breach of contract, and conversion.
 3           2.        Defendant Yash Gosai (“Gosai”), a resident of Auckland, New Zealand, submitted
 4   to the jurisdiction of this Court by submitting a counter notification consenting to the jurisdiction
 5   of this district under the Digital Millennium Copyright Act, 17 U.S.C. § 512.
 6           3.        This Court has jurisdiction over Plaintiffs Epic Games, Inc. and Epic Games
 7   International, S.À.R.L. (collectively “Epic”) and Gosai as well as the subject matter at issue in
 8   this action.
 9           4.        Gosai acknowledges that he has reviewed this Final Judgment and Permanent
10   Injunction, the Stipulation for Entry of Final Judgment and Permanent Injunction, and the
11   Settlement Agreement and understands their meaning and effect.
12           5.        Epic alleges that Gosai created, developed and/or found an exploit for Fortnite’s
13   Battle Royale game mode; Gosai then created and publicly displayed a video on YouTube to
14   advertise, demonstrate, and distribute the exploit; Gosai’s video contained gameplay from Epic’s
15   Fortnite Battle Royale game; and that using the exploit, Gosai obtained Fortnite V-bucks without
16   paying for them.
17           6.        Judgment. Based on the Parties’ stipulation, judgment is entered in favor of Epic
18   and against Gosai on the following causes of action: copyright infringement, breach of contract,
19   and conversion.
20           7.        Permanent Injunction. Yash Gosai along with his agents, representatives,
21   partners, joint venturers, servants, employees, and all those persons or entities acting in concert or
22   participation with him, shall be and hereby are PERMANENTLY ENJOINED and restrained
23   from:
                    a. imitating, copying, or making any other infringing use or infringing distribution of
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25                     Fortnite or any other works now or hereafter protected by any copyright owned by

26                     Epic;

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                                                                             [PROPOSED] FINAL JUDGMENT AND
                                                        -2-                  PERMANENT INJUNCTION Case No.
     131695355                                                               3:18-cv-00152-CRB
       Case 3:18-cv-00152-CRB Document 15-1 Filed 01/31/18 Page 3 of 4



 1                  b. engaging in any other activity that constitutes an infringement of any of Epic’s
 2                     copyrights, or of Epic’s rights in, or right to use or exploit its copyrights;
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                    c. attempting to locate, locating, promoting, and/or distributing exploits in any game,
 4
                       now existing or that is created in the future, developed or published by Epic or its
 5
                       corporate affiliates; and
 6

 7                  d. assisting, aiding, or abetting any other person or entity in engaging in or

 8                     performing any of the activities referenced in paragraphs 7(a) through 7(c) above.

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             8.        Future Claims Unaffected. Nothing in this Final Judgment and Permanent
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     Injunction precludes Epic or Gosai from asserting any claims or rights that arise solely after
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     Gosai’s stipulation to this Final Judgment and Permanent Injunction or that are based upon any
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     breach of, or the inaccuracy of, any representation or warranty made by Gosai in the Stipulation
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     for Entry of Final Judgment and Permanent Injunction, the Final Judgment and Permanent
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     Injunction or the Settlement Agreement reached by the Parties.
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             9.        Claims Against Third Parties Unaffected. Nothing in this Final Judgment and
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     Permanent Injunction precludes Epic or Gosai from asserting any claims or rights as against any
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     third party.
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             10.       Non-Appealability. This Final Judgment and Permanent Injunction is final and
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     may not be appealed by either party.
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             11.       Rule 65(d). Gosai waives any objection under Federal Rule of Civil Procedure
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     65(d) (pertaining to injunctions) to paragraph 7 above.
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             12.       Dismissal. The claims in this action against Gosai are dismissed with prejudice.
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             13.       Fees and Costs. Each party shall bear its own attorneys’ fees and costs.
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             14.       Retention of Jurisdiction. The Court shall retain jurisdiction to enforce this Final
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     Judgment and Permanent Injunction.
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                                                                               [PROPOSED] FINAL JUDGMENT AND
                                                         -3-                   PERMANENT INJUNCTION Case No.
     131695355                                                                 3:18-cv-00152-CRB
       Case 3:18-cv-00152-CRB Document 15-1 Filed 01/31/18 Page 4 of 4



 1           PURSUANT TO STIPULATION IT IS SO ORDERED.
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     DATED this ____ day of ___________, 2018
 3
                                                  Judge Charles R. Breyer
 4                                                UNITED STATES DISTRICT COURT JUDGE
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                                                               [PROPOSED] FINAL JUDGMENT AND
                                                -4-            PERMANENT INJUNCTION Case No.
     131695355                                                 3:18-cv-00152-CRB
